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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

Plaintiff,

v.

STEVE NIDES,

Defendant.                                                 No. 07-30136-DRH



                                      ORDER



HERNDON, Chief Judge:




             Now before the Court is the United States of America’s motion to

continue sentencing hearing of Defendant Nides (Doc. 275). The Government argues

that the Assistant United States Attorney (“AUSA”) is not able to attend the scheduled

hearing. The Government has also just received the Defendant’s lengthy objections

and the AUSA would prefer to represent the Government personally at the hearing

to address the objections, rather than have another AUSA, unfamiliar with the case,

attend the hearing. The Defendant does not object to the request for continuance.

Based on the reasons in the motion, the Court GRANTS the Government’s motion

to continue sentencing hearing (Doc. 275) and CONTINUES the sentencing hearing
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scheduled for June 12, 2009 until Thursday, June 18, 2009 at 10:00 a.m.

           IT IS SO ORDERED.

           Signed this 1st day of June, 2009.



                                          /s/      DavidRHer|do|
                                          Chief Judge
                                          United States District Court




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